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 2
     PRECILIANO MARTINEZ
     ATTORNEY AT LAW
 3
     State Bar No. 93253
     801 15th St, Suite F
 4
     Modesto, CA 95354
     (209)579-2206/ (209)579-2211 Fax
 5

 6   Attorney for Defendant
     CARLOS MORENO-PACHECO
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 8
                           UNITED STATES DISTRICT COURT
 9                     FOR THE EASTERN DISTRICT OF CALIFORNIA

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                                              )
11
     UNITED STATES OF AMERICA,                )   CASE NO. 1:06-cr-381-LJO
                                              )
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                  Plaintiff,                  )   STIPULATION AND ORDER VACATING
                                              )   DATE, AND CONTINUING CASE
13
         vs.                                  )
     CARLOS MORENO-PACHECO,                   )   DATE: November 9, 2007
14                                            )   TIME: 9:00a.m.
                                              )   Judge: HON. LAWRENCE J. O’NEILL
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                  Defendant.
                                              )
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17          IT IS HEREBY STIPULATED by and between Assistant United States Attorney
     Laurel J. Montoya, Counsel for Plaintiff, Attorney Preciliano Martinez, Counsel for
18
     Defendant Carlos Moreno-Pacheco that the Motion Hearing/Trial Confirmation date
19   scheduled for November 9, 2007, be vacated and the Motion Hearing/Trial Confirmation
     be continued to this court’s calendar on November 30, 2007 at 9:00 a.m. This
20   continuance is requested so that the government may have ample time to file their
     response to the motion filed by the defendant and also because Mr. Martinez is
21
     scheduled to be out of state on a different matter.
22          The court is advised that counsel have conferred about this request, that they
     have agreed to November 30, 2007 date and that Ms. Montoya has authorized
23   Preciliano Martinez to sign this stipulation on her behalf.
     IT IS SO STIPULATED
24
     DATED: November 8, 2007                                /s/ Preciliano Martinez
25                                                          PRECILIANO MARTINEZ
                                                            Attorney for Defendant
26                                                          Carlos Moreno-Pacheco
27

28   Dated: November 8, 2007                             /s/Laurel J. Montoya
                                                         LAUREL J. MONTOYA
                                                         Assistant United States Attorney
                                                         Attorney for United States
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 3
                                          ORDER
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     THE COURT HAS RECEIVED AND REVIEWED THE STIPULATION. THERE IS

 6   GOOD CAUSE TO CONTINUE AND TO EXCLUDE TIME FOR THE REASONS
 7   STATED. IT IS SO ORDERED.
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11   IT IS SO ORDERED.

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13   Dated:   November 8, 2007                    /s/ Lawrence J. O'Neill

14   b9ed48                                   UNITED STATES DISTRICT JUDGE

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